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                      UNITED STATES DISTRICT COURT
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                    SOUTHERN DISTRICT OF CALIFORNIA
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                                                                  Bv                           ,. .
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UNITED STATES OF AMERICA,                  CASE NO. 14cr967 OMS

                      Plaintiff,
              vs.                          JUDGMENT OF DISMISSAL
TIFFANY NOEL WOODY-BACANI,

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

_x___ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment/Information:




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 4/29/2014
                                            William V. Gallo
                                            U.S. Magistrate Judge
